     Case 18-30380-hdh13 Doc 41 Filed 06/12/18            Entered 06/12/18 16:49:59      Page 1 of 2




The following constitutes the ruling of the court and has the force and effect therein described.



Signed June 12, 2018
                                            United States Bankruptcy Judge
  ______________________________________________________________________




      __________________________________________________________________

                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

     IN RE:                                        §
                                                   §
     ZULMA CONSUELO PINEDA,                        §            NO. 18-30380-HDH-13
                                                   §
     Debtor.                                       §            (Chapter 13)

       ORDER AMENDING ORDER SIGNED ON MARCH 30, 2018 BY DISMISSING CASE
                  WITH PREJUDICE TO REFILING FOR 180 DAYS

              On May 31, 2018, the Court considered Wayne Vance, Celso Duran, Francisco Perez,

     Gladys Barner, and Angela Galvis Schnuerle’s Motion to Dismiss with Prejudice to Refiling for

     180 Days, which was filed in the above-styled and numbered Chapter 13 proceeding. The Court,

     having heard this Motion and arguments of counsel, finds that proper notice of the Motion and the

     Hearing Date was given to all parties in interest.

              Upon due consideration of the grounds set forth in Wayne Vance, Celso Duran, Francisco

     Perez, Gladys Barner, and Angela Galvez Schnuerle’s Motion to Dismiss with Prejudice to

     Refiling for 180 Days and arguments of counsel, and after hearing that Debtor Zulma Consuelo
Case 18-30380-hdh13 Doc 41 Filed 06/12/18            Entered 06/12/18 16:49:59      Page 2 of 2
Pineda has withdrawn her opposition to said motion, the Court finds that said Motion should be

GRANTED in its entirety.

       It is therefore ORDERED that this Court hereby amends the Order Dismissing Chapter 13

Case signed on March 30, 2018 pursuant to General Order 2017-01 by GRANTING Wayne Vance,

Celso Duran, Francisco Perez, Gladys Barner, and Angela Galvis Schnuerle’s Motion to Dismiss

with Prejudice to Refiling for 180 Days and by dismissing this current Chapter 13 bankruptcy

petition filed by Debtor Zulma Consuelo Pineda in the above-styled and numbered Chapter 13

proceeding with prejudice to the refiling of a subsequent petition for 180 days.

                                     # # # End of Order # # #

Order submitted by:                                                 /S/ Tara Tankersley_____
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